          Case 3:19-cv-00807-RS Document 119-1 Filed 11/25/20 Page 1 of 3




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14                         FOR THE NORTHERN DISTRICT OF CALIFORNIA

15    Innovation Law Lab, et al.,                       CASE NO.: 3:19-CV-00807-RS

16                    Plaintiffs,                       PROPOSED ORDER REGARDING
                                                        PARTIES’ JOINT MOTION &
17                                                      STIPULATION TO PARTIALLY UNSEAL
                      v.                                FILINGS UNDER LOCAL RULE 7-11
18
      Kirstjen Nielsen, et al.,
19
                      Defendants.
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                                        CASE NO.: 3:19-cv-00807-RS
        Case 3:19-cv-00807-RS Document 119-1 Filed 11/25/20 Page 2 of 3



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25   **Application for pro hac vice pending
     ***Pro hac vice application forthcoming
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                                    CASE NO. 3:19-cv-00807-RS
         Case 3:19-cv-00807-RS Document 119-1 Filed 11/25/20 Page 3 of 3




 1            The Parties’ Joint Motion & Stipulation to Partially Unseal Filing Under Local Rule 7-11

 2   is granted, and it is HEREBY ORDERED that:
 3            1. The Doe Plaintiffs’ Notices to Appear (“NTAs”) filed at ECF No. 44 are unsealed as
 4            stipulated in the Parties’ Joint Motion & Stipulation.
 5            2. The Parties may file the excerpted and redacted versions of these documents presented
 6            to the Court in the public docket in Wolf v. Innovation Law Lab, No. 19-1212 (S. Ct.),
 7            cert. granted Oct. 19, 2020.
 8   IT IS SO ORDERED.
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10   Dated:
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12                                                                        ____________________
                                                                          Hon. Judge Richard Seeborg
13                                                                        U.S. District Court Judge

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                                          CASE NO. 3:19-cv-00807-RS
